         Case 1:14-cv-09126-ALC Document 155 Filed 12/30/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                             12/30/2020


 SECURITIES AND EXCHANGE
 COMMISSION,

                                Plaintiff,

                        v.
                                                               14 Civ. 9126 (ALC)
 ANTHONY J. THOMPSON Jr.,
 JAY FUNG, and ERIC VAN NGUYEN,

                                 Defendants,

 JOHN BABIKIAN and KENDALL
 THOMPSON,

                                 Relief Defendants.


                   FINAL JUDGMENT AS TO DEFENDANT JAY FUNG

       The Securities and Exchange Commission having filed a Complaint and Defendant Jay

Fung having entered a general appearance; consented to the Court’s jurisdiction over Defendant

and the subject matter of this action; consented to entry of this Final Judgment; waived findings

of fact and conclusions of law; and waived any right to appeal from this Final Judgment:


                                                  I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating Section 17(b) of the Securities Act of 1933

(“Securities Act”) [15 U.S.C. § 77q(b)] by the use of any means or instruments of transportation

or communication in interstate commerce or by use of the mails, to publish, give publicity to, or

circulate any notice, circular, advertisement, newspaper, article, letter, investment service, or

communication which, though not purporting to offer a security for sale, describes such security


                                                  1
         Case 1:14-cv-09126-ALC Document 155
                                         148 Filed 12/30/20
                                                   12/23/20 Page 2 of 3




for a consideration received or to be received, directly or indirectly, from an issuer, underwriter,

or dealer, without fully disclosing the receipt, whether past or prospective, of such consideration

and the amount thereof.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                 II.


       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is liable for disgorgement of $1,766,083.00, representing profits gained as a result of the conduct

alleged in the Complaint, together with prejudgment interest thereon in the amount of

$244,308.00, for a total of $2,010,391.00, provided, however, that this disgorgement and

prejudgment interest award shall be deemed satisfied by the entry of the restitution order in

People of the State of New York against Anthony Thompson et al., Indictment No. 03853/2014

(Supreme Court, New York County).

                                                 III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.




                                                  2
         Case 1:14-cv-09126-ALC Document 155
                                         148 Filed 12/30/20
                                                   12/23/20 Page 3 of 3




                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                                V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


                                                VI.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


        December 30
Dated: ______________,  2020
                       _____



                                              ____________________________________
                                              HONORABLE ANDREW L. CARTER, JR.
                                              UNITED STATES DISTRICT JUDGE




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